Case 1:25-cv-11418-MJJ Document1-2 Filed 05/27/25 Page1of1

ATTACHMENT 3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

- " FTAVAID AZIZ VS

14. Title of case (name of first party on each side only)
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Né€ELOPFAR K:-BuYT?

2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See Jocal
rule 40.1(a)(1)).
I. 160, 400, 410, 441, 535, 830", 835", 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

I. 410, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820", 840*, 895, 896, 899.

IM. 420, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550,555, 560,

625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.
*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

3. Title and number, If any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

4, Has a prior action between the same parties and based on the same claim ever been filed in this court?
/
ves L] no

5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
/
vs LI x0

if so, is the U.S.A. or an officer, agent or employee of the U.S. a party?
vs LI wo LI

6. Is this case required to be heard and determined by a district court of three judges PT to title 28 USC §22847

YES NO

7. Doall of the parties inthis action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside in “et division? - p< Local Rule 40.1(d)).

YES NO
A. If yes, in which divisi o all of the non-governmental parties reside?
Eastern Division Ma Central Division cr] Western Division [ ]
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

Eastern Division L ] Central Division [| Western Division [|

8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,

submit a separate sheet identifying the motions)
wo K
YES NO :
(PLEASE TYPE OR PRINT) PB regs ia
ATTORNEY:S-OR-PRO SE'S NAME SAVALD AZIE
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(CategoryForm6-2021.wpd )
